An indictment is an accusation found by an inquest of twelve or more lawful jurors upon their oaths. The law has prescribed certain forms in which such accusations shall be drawn, and will not allow any citizen to be punished unless such precision is observed. That they should be sanctioned by the finding of a grand jury, and signed by their foreman, as the best evidence of being so found, is essential to their validity; but neither the common law nor any statute that we know of requires them to be signed by the Attorney-General. An indictment legally framed, in other respects, would not be bad by not being signed by the prosecuting officer.
NOTE. — It seems that the grand jury's returning a bill into court, and their publicly rendering their verdict on it in the form, "a true bill," and its being recorded or filed amongst the records of the court, makes it effectual; and the want of the foreman's name to it will not invalidate it. S. v. Calhoun, 18 N.C. 374; S. v. Guilford, 49 N.C. 83.
Cited: S. v. Shemwell, 180 N.C. 719.